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                                 March 9, 2018              DATE FILED: 3/12/18
                                                                                         Via ECF
Honorable Lorna G. Schofield     Application granted. The deadline to submit claim forms is extended to May
U.S. District Court              16, 2018. Class Counsel shall file a letter by 12:00 p.m. on May 22, 2018,
Southern District of New York
                                 reporting the results of the claims process, including number and percentage
Thurgood Marshall Courthouse
40 Foley Square                  of claimants, percentage return on the dollar, and any other information
New York, NY 10007               necessary to inform the Court of the actual results of the claims process. If
                                 such information is not available by May 22, 2018, the Fairness
        Re:    In re Foreign Exchange Benchmark Rates Antitrust Litigation Hearing will be adjourned. The
               Case No. 1:13-cv-07789-LGS (S.D.N.Y.)
                                 Court would appreciate advance notice if that is the case.
Dear Judge Schofield:            New York, New York
                                 March 12, 2018
        We write pursuant to paragraph 10(c)(ii) of the Settlement Agreements to request that the
Court enter an order extending the deadline to submit claim forms from March 22, 2018 to
May 16, 2018. Given the feedback we have received from potential claimants concerning the
time it is taking to source data from potentially multiple entities (e.g., investment managers,
custodian banks, brokers) for claims submission, we believe this extension will permit class
members to submit more complete data sets without materially delaying distribution.

        If the Court grants the extension, we will direct the Claims Administrator to inform class
members of the new deadlines on the Settlement Website and also in direct communications with
class members. The Settlement Website will also inform class members that the Claims
Administrator will commence providing claimants with Claim Assessment Notifications on
May 31, 2018 and will roll out Claim Assessment Notifications as they become ready, with
larger claims taking longer to process. We anticipate that for “Option 1” claims submitted by
May 1, 2018, the Claims Administrator will begin providing claimants with Claim Assessment
Notifications on May 31. Claim Assessment Notifications for Option 1 claims submitted by
May 16, 2018 will begin to be rolled out on June 18, 2018. Claim Assessment Notifications for
“Option 2” claims submitted by May 16, 2018 will be rolled out beginning on July 16, 2018.

       The remaining dates in the schedule on Class Plaintiffs’ motion for final approval are as
follows: Reply briefs in support of final approval and the attorneys’ fee application are due
April 23, 2018, and the Fairness Hearing is set for May 23, 2018 at 4:00 p.m. In advance of the
Fairness Hearing, we will provide the Court with any material updates that occur between the
due date of the reply briefs and the hearing.

                                     Respectfully submitted,

SCOTT+SCOTT ATTORNEYS AT LAW LLP                      HAUSFELD LLP
/s/ Christopher M. Burke                              /s/ Michael D. Hausfeld
Christopher M. Burke                                  Michael D. Hausfeld
600 W. Broadway, Suite 3300                           1700 K Street, NW, Suite 650
San Diego, CA 92101                                   Washington, DC 20006
Telephone: 619-233-4565                               Telephone: 202-540-7200

                    Interim Co-Lead Counsel and Counsel for Class Plaintiffs
